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                                                                               May 2, 2025

BY CM/ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:     Metro. Transp. Auth., et al. v. Duffy, et al., No. 25 Civ. 1413 (LJL)

Dear Judge Liman,

       We write on behalf of Plaintiffs, the Metropolitan Transportation Authority and Triborough
Bridge and Tunnel Authority, to provide the Court with an update regarding scheduling on the
proposed motions for a preliminary injunction.

        As Your Honor knows, on April 21, Defendant Duffy sent Governor Hochul a letter
threatening various far-reaching “compliance measures” that will go into effect on or after May 28
unless Plaintiffs stop congestion pricing—or unless Defendants suddenly reverse course in the
coming weeks and rescind their unlawful attempts to terminate the Value Pricing Pilot Program
Agreement. ECF 64-1 (“Apr. 21 Duffy Ltr.”). On April 23, we notified the Court of Defendants’
threatened enforcement and stated that we would meet and confer with Defendants’ counsel to try
to agree on an appropriate schedule to brief motions for a preliminary injunction. See ECF 64 at
4-7.

        We reached out to counsel on April 24 and again on April 29 to schedule a meet and confer,
and in the second email we went ahead and proposed a schedule intended to give Your Honor
sufficient time to decide the motions on or before May 28. We also said that motion practice of
course would not be necessary if the government “will agree not to take any enforcement action”
pending a resolution of the instant litigation. Attachment 1. On April 30, counsel for Defendants
responded that they “do not see a reason for Plaintiffs to file a motion for a preliminary injunction,”
because, in their view, administrative proceedings remain ongoing, id., apparently referring to the
question of whether Defendants will take the actions they have said that they “will implement”
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unless Plaintiffs shut down congestion pricing or Defendants change their mind, Apr. 21 Duffy Ltr.
at 2. At the same time—and even as Defendants claimed any dispute over enforcement is too
uncertain to brief now—Defendants made crystal clear that the basis for Defendants’ threatened
enforcement actions is set, since “[t]he April 21 letter reiterates that the VPPP agreement is
terminated,” and that the schedule for the imposition of the “compliance measures” set out in the
April 21 letter “remains in place.” Attachment 1. Counsel for Defendants further proposed that
all scheduling deadlines in this case be adjourned sine die, including Defendants’ deadline to
answer and produce an administrative record, but did not respond to our proposal that Defendants
agree to stay the imposition of “compliance measures” to allow for a more orderly briefing
schedule. Id.

        On May 1, we responded by explaining that Defendants’ enforcement threats “present a
defined controversy that the parties are clearly capable of briefing now” and should be briefed now
in order “to avoid a situation where the parties are briefing, and the court is dealing with, an
emergency TRO if the government takes the action it has threatened.” Id. We also rejected
Defendants’ proposed modifications to the Court’s prior scheduling order, given that Defendants
stand by the putative termination of the VPPP Agreement that is the foundation for this lawsuit
and the possible imposition of enforcement on May 28. Finally, we reiterated our offer to postpone
seeking a briefing schedule for preliminary injunctive relief if the government would agree not to
take enforcement action, even temporarily. Id. The government declined that offer. Id.

       Given that the parties have reached an impasse, we now write to propose a briefing
schedule on proposed motions for a preliminary injunction. Specifically, we propose the following
schedule:

                   Motions for Preliminary Injunction      May 5, 2025

                   Defendants’ Opposition                  May 13, 2025

                   Replies                                 May 19, 2025


Under this schedule, briefing would conclude two days before Defendants’ “show cause” deadline
on May 21 and nine days before Defendants have said they will impose “compliance measures”
on May 28. Defendants have proposed that their Opposition should be due May 19, 2025, but that
timeline would make it very difficult if not impossible for us to reply and for an oral argument to
be held in order for the Court to have sufficient time to decide the motion before the impending
May 28 enforcement date. We believe our proposal provides more than enough time for
Defendants to brief these issues; indeed, as they have threatened these enforcement actions by May
28, they presumably have thought through the legal grounds for those threats and should be ready
to address the merits. To the extent that Defendants take issue with this timeline, they really only



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have themselves to blame, as they alone have the power to decide whether they will take
enforcement action and whether they will do so on or after May 28.

         Finally, to the extent that Defendants contend the proposed motions are not ripe, they
obviously can make that argument in their opposition papers. Our point in seeking a schedule now
is to allow these issues to be briefed in a timely and orderly manner. But to be clear, Defendants’
contention that administrative proceedings remain “ongoing” is complete gamesmanship. It has
now been more than 70 days since Secretary Duffy purported to “rescind[]” federal approval for
New York’s Congestion Pricing Program and “terminat[e]” the VPPP Agreement in his letter dated
February 19, 2025. ECF 62 at 3. His February 19 letter unambiguously marks the
“consummation” of Defendants’ decision-making process, purports to determine the “rights or
obligations” of the parties, and (if upheld) will have substantial “legal consequences” for the
legality of the Congestion Pricing Program. Sackett v. E.P.A., 566 U.S. 120, 126-27 (2012).
Defendants have also identified six specific categories of enforcement actions they intend to take.
Apr. 21 Duffy Letter at 2. The fact that Defendants have not yet determined which of those six
actions (or others) they will use to coerce New York’s compliance with the February 19 letter is
neither here nor there. See id. at 129 (while agency “may still have to deliberate over whether it
is confident enough about” its decision to initiate compliance measures, “that is a separate
subject”); Hawkes Co., Inc. v. U.S. Army Corps of Eng’rs, 782 F.3d 994 (8th Cir. 2015) (plaintiff
did not need to wait for agency to take enforcement action before challenging assertion of Clean
Water Act jurisdiction over plaintiff’s property).

        Defendants do not really deny any of this. In fact, they continue, as noted, to “reiterate[]
that the VPPP agreement is terminated.” Attachment 1. And they have repeatedly threatened
sweeping sanctions if the Program is not ended. See Apr. 21, 2025 Duffy Ltr.; ECF 62-5 (Mar. 20,
2025 letter from G. Shepherd); ECF 62-8 (Feb. 20, 2025 letter from G. Shepherd); see also ECF
62 ¶¶ 186-93 (collecting threats posted by S. Duffy to social media). Put simply, Defendants’
position appears to be that Defendants may treat Secretary Duffy’s February 19 letter “terminating”
the VPPP Agreement as final agency action, and may implement sweeping “compliance measures”
on that basis, but that this Court is powerless to act until after Defendants have frozen infrastructure
planning processes necessary to obtain federal funding for critical transportation projects. That
makes no sense and ignores this Court’s ability to manage its own docket to allow for the timely
and orderly presentation of issues. The point of injunctive relief, of course, is to prevent irreparable
injury before it can occur. See New York v. Trump, 2025 WL 573771, at *12 (S.D.N.Y. Feb. 21,
2025) (plaintiffs had standing to obtain preliminary relief where “the risk of harm alleged” was
“sufficiently immediate and substantial”); see also Wilmer Cutler Pickering Hale and Dorr LLP v.
Executive Office of the Pres., 25 Civ. 917 (D.D.C. 2025), ECF 10 (enjoining federal agencies from
taking measures to implement unconstitutional Executive Order punishing law firm); Jenner &
Block LLP, v. U.S. Dep’t of Just., 25 Civ. 916 (D.D.C. 2025), ECF 9 (same); Perkins Coie LLP v.



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 U.S. Dep’t of Justice, No. 25 Civ. 716 (D.D.C. 2025), ECF 22 at 74:7-21 (same).1 Intervenor-
 Plaintiffs New York State Department of Transportation and New York City Department of
 Transportation join the request for a briefing schedule on motions for a preliminary injunction.

         We thank the Court for its attention to this matter and are available to make any further
 submissions or provide any information Your Honor may require. We also would be happy to
 participate in a scheduling conference if Your Honor believes it would be helpful. (Since I will be
 out of town next week, I can call into any such conference or my partner Brandon Trice can speak
 on our clients’ behalf.)



                                                               Respectfully submitted,




                                                               Roberta A. Kaplan



 cc:   Counsel of Record (via ECF)


The Court will take Plaintiffs’ proposed briefing schedule under advisement. Plaintiffs may file a
motion for a preliminary injunction by May 5, 2025. No later than May 3, 2025 at 5pm,
Defendants shall file a letter stating why the Court should not require that Defendants’ opposition
to the preliminary injunction motion be filed by May 13, 2025, with Plaintiffs' reply due on May
19, 2025. Plaintiffs may respond to Defendants’ position on the briefing schedule no later than
12pm on May 4, 2025.




May 2, 2025

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  Defendants have clearly denied that they are re-opening their decision regarding the validity of the VPPP Agreement,
 and even if they claimed otherwise, any such re-opening would obviously be “in name only.” Mantena v. Hazuda,
 2018 WL 3745668, at *6 (S.D.N.Y. 2018). It is apparent from public reporting that any further agency proceedings
 would be a sham, as Defendants have revealed that their ultimate objective is the “elimination” of the Congestion
 Pricing Program. Ryan Erik King, Trump Gov’t Lawyers Bash Their Own Case Against NYC Congestion Pricing In
 Mistakenly Uploaded Memo, YAHOO (Apr. 25, 2025), https://autos.yahoo.com/trump-govt-lawyers-bash-own-
 201303531.html.

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